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January 19, 2018



Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007


        Re:      SEC v. Alpine Securities Corp.
                 Civil No. 1:17-cv-04176-DLC-RLE


Dear Judge Cote:


        Pursuant to the Court’s Individual Practices 3.F, Defendant Alpine Securities Corporation
respectfully requests oral argument on its Cross-Motion for Summary Judgment and Motion for
Judgment on the Pleadings.


Respectfully,
THOMPSON HINE

/s/ Maranda Fritz
Maranda Fritz

cc: Counsel of Record (via CM/ECF)




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